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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ISIAH KELLUP,                                    §
                                                 §
                                                 §        C.A. NO. 4:22-cv-1652
               Plaintiff,                        §
                                                 §
v.                                               §
                                                 §
BANK OF AMERICA, N.A.,                           §
                                                 §
               Defendant.                        §

                DEFENDANT BANK OF AMERICA, N.A.’S UNOPPOSED
                      MOTION TO SUBSTITUTE COUNSEL

       Defendant Bank of America, N.A. (“BANA”) hereby requests that the Court allow the

substitution of George Robertson and David Hornbeak of Holland & Knight LLP, as counsel of

record for BANA, in place of Connie Flores Jones of Winston & Strawn LLP.

       Counsel for BANA has conferred with counsel for Plaintiff regarding BANA’s request

to substitute counsel, and Plaintiff does not oppose BANA’s request. Therefore, BANA’s

motion to substitute counsel is unopposed.

       WHEREFORE, PREMISES CONSIDERED, BANA prays that this Court grant its

motion and allow George Robertson and David Hornbeak of Holland & Knight LLP to be

substituted as counsel of record for BANA in place of Connie Flores Jones of Winston & Strawn

LLP, and for such other and further relief as this Court deems appropriate.
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Dated: June 2, 2022                    Respectfully submitted,


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                                       SUBSITUTING ATTORNEYS FOR
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                                      By: /s/ Connie Flores Jones
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                                      WITHDRAWING ATTORNEYS FOR
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                             CERTIFICATE OF CONFERENCE

       On June 2, 2022, I conferred via email with Clay Vilt, counsel for Plaintiff Isiah Kellup

regarding the motion for substitution of counsel for Defendant Bank of America, N.A. Mr. Vilt

stated that Plaintiff does not oppose the motion.

                                                    /s/ Connie Flores Jones
                                                    Connie Flores Jones



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 2nd day of June 2022, I electronically filed the foregoing with

the Clerk of Court and served the foregoing on Plaintiff’s counsel of record Robert C. Vilt by using

the CM/ECF system.

                                                    /s/ Connie Flores Jones
                                                    Connie Flores Jones




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